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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 24-CR-60126-LEIBOWITZ(s)

 UNITED STATES OF AMERICA,

 v.

 JANICE ELEANOR TURNER
 and
 KISEAN PAUL ANDERSON,
            a/k/a/ Sean Kingston

                     Defendants.
 ________________________________/

              UNITED STATES OF AMERICA’S AMENDED EXHIBIT LIST

        The United States submits the attached Amended Exhibit List, which reflects exhibits that

 the government intends to introduce at trial in its case-in-chief. The amendment breaks down

 Exhibit 28 to include 28a–d—three audio messages from a victim’s text chain with Defendant

 Anderson and text messages between the victim and Defendant Janice Turner. The amendment

 also breaks down Exhibit 12 to include 12a–c—three audio messages from a victim’s text chain

 with Defendant Anderson. Exhibits 28a–d were isolated and shared with Defense Counsel via

 email on March 19 and 20, 2025. Exhibits 12a–c will be shared immediately upon receipt. The

 government reserves the right to supplement this list as necessary.


                                                Respectfully submitted,

                                                HAYDEN P. O’BYRNE
                                                UNITED STATES ATTORNEY

                                         BY:    Trevor C. Jones
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 24-CR-60126-LEIBOWITZ(s)

      UNITED STATES OF AMERICA,

      v.

      JANICE ELEANOR TURNER
      and
      KISEAN PAUL ANDERSON,
                 a/k/a/ Sean Kingston

                           Defendants.
      ________________________________/


                 UNITED STATES OF AMERICA’S AMENDED EXHIBIT LIST

 ASSISTANT U.S.        DEFENDANT’S ATTORNEYS
  ATTORNEYS

Marc S. Anton          James Stark (Turner)
Trevor Jones           Robert Rosenblatt (Anderson)

GOV.        DATE       MARKED       ADMITTED                 DESCRIPTION OF EXHIBIT
 NO.       OFFERED
                                                      Ariel Mateos (Expimled) (Count 5)
  1                                                   Sean Kingston Contact Card
  2                                                   Mama Kingston Contact Card
  3                                                   IG Chats with Sean Kingston
  4                                                   Text Messages with Sean
  5                                                   Text Messages with Mama Kingston
  6                                                   Expimled Invoice
  7                                                   Expimled Receipt Acknowledgement
  8                                                   Fake Novo Transaction Receipt


                                                      Andrii Nikolenko (Count 6)
   9                                                  Sean Kingston Contact Card
  10                                                  Mamy Sean Kingston Contact Card
  11                                                  Instagram with seankingston
  12                                                  Text Messages with Sean
 12a                                                  Audio Message from Texts with Sean
 12b                                                  Audio Message from Texts with Sean
 12c                                                  Audio Message from Texts with Sean

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13                                         Text Messages with Mamy Sean Kingston
14                                         Group Text Message with BK and M
15                                         Invoice
16                                         Fake Bank of America Transfer Confirmation
17                                         Bank of America Screenshots


                                           Steve Young (Count 2)
18                                         Sean Kingston Contact Card
19                                         Sean Mother Contact Card
20                                         Seankingston Instagram
21                                         Text Messages with Sean Kingston
22                                         Text Messages with Sean Mother
23                                         Fake Wire Receipt Text
24                                         Chase Bank Statement


                                           Moshe Edery (Mazel Jewelers) (Count 3)
 25                                        Sean Kingston Contact Card
 26                                        Janice Turner Contact Card
 27                                        Seankingston Instagram
 28                                        Text Messages with Sean
28a                                        Audio Message from Texts with Sean
28b                                        Audio Message from Texts with Sean
28c                                        Audio Message from Texts with Sean
28d                                        Text Messages with Janice Turner
 29                                        Invoice
 30                                        Fake Bank of America Wire Receipt
 31                                        Chase Bank Statement


                                           Arnold Bush (Ocean Auto) (Count 4)
32                                         Sean Kingston Contact Card
33                                         Momma Kingston Contact Card
34                                         Text Messages with Sean Kingston
35                                         Text Messages with Momma Kingston
36                                         IMessage with Republic ACH.pdf
37                                         Fake First Republic Receipt
38                                         Ocean Mazda Receipts


                                           Brad Jenkins
 39                                        Cellphone
39A                                        Thumbdrive containing Turner Phone Extraction
                                           (954-770-4578)

                                           Amanda Cook

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40                                         AT&T Records
41                                         11/2021 Text Messages skkkkk and
                                           Mamakingston Bookings
42                                         Seanking and Mamakingston Bookings Text
                                           Messages (Ocean Auto)
43                                         Mamakingston Bookings and Mark Mosquera
                                           Text Messages (Ocean Auto)
44                                         Mamakingston Bookings and Mark Mosquera
                                           Text Messages (Steve Young)
45                                         Mamakingston Bookings and Mark Mosquera
                                           Text Messages (VerVer/Eximpled)
46                                         Mamakingston Bookings and Mark Mosquera
                                           Text Messages (Mazel Jewelers)
47                                         Mamakingston Bookings and Ryan Music Text
                                           Messages (Nikolenko)
                                           Mamakingston Bookings and Ryan Music Text
48                                         Messages (2/6/2024 with Fake Bank of America
                                           Statements)
                                           Mamakingston Bookings and Ryan Music Text
49                                         Messages (5/13/2024 with Fake Bank of America
                                           Statements)
49A                                        Mamakingston Bookings and Mark Mosquera
                                           Text Messages (6/1/2023)
50                                         Bank of America Bank Statements Acct 2924
                                           (10/1/23 – 3/31/24)
51                                         Bank of America Bank Statements Acct 2431
                                           (2/15/24 – 4/30/24)
52                                         Additional Fake Receipts
53                                         Zelle Transactions
54                                         Turner Phone Extraction Contact List

55                                         Stipulation




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